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1    ANNETTE L. HURST (SBN 148738)                  JOSEPH R. SAVERI (SBN 130064)
     ahurst@orrick.com                              jsaveri@saverilawfirm.com
2    DANIEL D. JUSTICE (SBN 291907)                 STEVEN N. WILLIAMS (SBN 175489)
     djustice@orrick.com                            swilliams@saverilawfirm.com
3    ORRICK, HERRINGTON & SUTCLIFFE LLP             CADIO ZIRPOLI (SBN 179108)
     The Orrick Building                            czirpoli@saverilawfirm.com
4    405 Howard Street                              CHRISTOPHER K.L. YOUNG (SBN 318371)
     San Francisco, CA 94105-2669                   cyoung@saverilawfirm,com
5    Telephone: +1 415 773 5700                     LOUIS A KESSLER (SBN 243703)
     Facsimile: +1 415 773 5759                     lkessler@saverilawfirm.com
6                                                   ELISSA A. BUCHANAN (SBN 249996)
     WILLIAM W. OXLEY (SBN 136793)                  eabuchanan@saverilawfirm.com
7    woxley@orrick.com                              TRAVIS MANFREDI (SBN 281779)
     ALYSSA M. CARIDIS (SBN 260103)                 tmanfredi@saverilawfirm.com
8    acaridis@orrick.com                            JOSEPH SAVERI LAW FIRM, LLP
     ORRICK, HERRINGTON & SUTCLIFFE LLP             601 California Street, Suite 1000
9    355 S. Grand Avenue                            San Francisco, CA 94108
     Los Angeles, CA 90071                          Telephone: +1 415 500 6800
10   Telephone: +1 213 629 2020                     Facsimile: +1 415 395 9940
     Facsimile: +1 213 612 2499
11                                                  MATTHEW BUTTERICK (SBN 250953)
     Attorneys for GitHub, Inc. and Microsoft       mb@buttericklaw.com
12   Corporation                                    1920 Hillcrest Avenue, #406
                                                    Los Angeles, CA 90027
13                                                  Telephone: +1 323 968 2632
                                                    Facsimile: +1 415 395 9940
14
                                                    Attorneys for Individual and Representative
15                                                  Plaintiffs and the Proposed Class

16
17                               UNITED STATES DISTRICT COURT

18                            NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION
20
     J. DOE 1, et al.,                            Case No. 4:22-cv-6823-JST
21                                                Consolidated with Case No. 4:22-cv-7074-
                   Individual and                 JST
22                 Representative Plaintiffs,
                                                  STIPULATION AND [PROPOSED]
23          v.                                    ORDER REGARDING PRESERVATION
                                                  OF TELEMETRY DATA
24   GITHUB, INC., et al.,
                                                  Courtroom: 6
25                                Defendants.     Judge:      Hon. Jon S. Tigar
                                                  Trial Date: None Set
26
27   AND CONSOLIDATED ACTION
28
                                                                        STIP. AND [PROPOSED] ORDER RE:
                                                                     PRESERVATION OF TELEMETRY DATA
                                                                                    NO. 4:22-CV-6823-JST
       Case 4:22-cv-06823-JST Document 161 Filed 10/06/23 Page 2 of 5



1           Pursuant to Federal Rules of Civil Procedure 26(b)(2)(B) and 37(e), and Northern District
2    of California Local Rule 7-12, the parties in the above-captioned action hereby stipulate and agree
3    as follows.
4           WHEREAS, in the ordinary course of business and for reasons including cost, utility, and
5    privacy of its users, Defendant GitHub, Inc. (“GitHub”) has adopted a rolling 18-month retention
6    period for certain Copilot user data referred to as telemetry data;
7           WHEREAS, on June 1, 2023, GitHub initiated meet and confer with Plaintiffs regarding
8    the preservation of this data, and GitHub archived any data outside of the rolling 18-month period
9    pending the parties’ resolution of their discussions;
10          WHEREAS, on September 15, 2023, the parties participated in a Further Case
11   Management Conference with the Court;
12          WHEREAS, during the Conference, the Parties and the Court discussed the issue of
13   preserving archived telemetry data;
14          WHEREAS, Defendant GitHub and Plaintiﬀs stipulated, and the Court ordered, that the
15   deadline to file a joint discovery letter brief regarding the preservation of telemetry data is
16   October 6, 2023 (ECF No. 160);
17          WHEREAS, after continuing to meet and confer, GitHub and Plaintiﬀs came to an
18   agreement regarding telemetry data, and GitHub and Plaintiﬀs agree that so long as GitHub
19   maintains its telemetry data in accordance with the representations herein that retention is
20   suﬃcient to satisfy its obligations;
21          WHEREAS, Plaintiﬀs reserve all rights to seek further reasonable preservation of
22   telemetry data should the circumstances so require and Defendants reserve all rights to object to
23   any such request for further preservation;
24          WHEREAS, GitHub and Plaintiﬀs wish to memorialize their agreement regarding
25   preservation while continuing to meet and confer on other issues, such as the methodology for
26   searching or sampling the telemetry data, the nature and amount of searching that is reasonable
27   and proportional to Plaintiﬀs’ needs given the costs associated with maintaining and searching the
28   telemetry data, and any potential cost shifting regarding the retention and/or searching of the
                                                      -2-                           STIP. AND [PROPOSED] ORDER RE:
                                                                                PRESERVATION OF TELEMETRY DATA
                                                                                                NO. 4:22-cv-6823-JST
       Case 4:22-cv-06823-JST Document 161 Filed 10/06/23 Page 3 of 5



1    additional telemetry data GitHub will maintain in an archived state pursuant to this stipulation
2    and order;
3           WHEREAS, this stipulation will not alter the date of any event or deadline already fixed
4    by Court order;
5           NOW THEREFORE, the Parties, through their undersigned counsel, hereby stipulate
6    and agree, subject to the approval of the Court, that:
7                 1. Until February 21, 2025, GitHub will maintain in an archived state the telemetry
8                    data that it would ordinarily have deleted pursuant to its 18-month active retention
9                    period;
10                2. So long as GitHub maintains the additional telemetry data in an archived state
11                   through that date, it has satisfied its retention obligations;
12                3. Absent further order of the Court to the contrary, GitHub may delete the archived
13                   data after February 21, 2025 consistent with its retention obligations;
14                4. All other issues concerning cost-shifting, sampling, analysis, and scope of
15                   production of the retained data are reserved.
16
17   PURSUANT TO STIPULATION, IT IS SO ORDERED.
18
19   DATED: ________________                                  __________________________________
                                                              JON S. TIGAR
20                                                            United States District Judge
21
22
23
     Dated: October 6, 2023                                Orrick, Herrington & Sutcliffe LLP
24
25
                                                           By:         /s/ Annette L. Hurst
26                                                                        ANNETTE L. HURST
                                                                      Attorneys for GitHub, Inc. and
27                                                                        Microsoft Corporation
28
                                                       -3-                            STIP. AND [PROPOSED] ORDER RE:
                                                                                  PRESERVATION OF TELEMETRY DATA
                                                                                                  NO. 4:22-cv-6823-JST
       Case 4:22-cv-06823-JST Document 161 Filed 10/06/23 Page 4 of 5



1
     Dated: October 6, 2023                 JOSEPH SAVERI LAW FIRM, LLP
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3
                                            By:       /s/ Joseph R. Saveri
4                                                       JOSEPH R. SAVERI
                                                     Attorneys for Individual and
5                                                    Representative Plaintiffs and
                                                          the Proposed Class
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                                         -4-                      STIP. AND [PROPOSED] ORDER RE:
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                                                                              NO. 4:22-cv-6823-JST
       Case 4:22-cv-06823-JST Document 161 Filed 10/06/23 Page 5 of 5



1                                 L.R. 5-1 SIGNATURE ATTESTATION
2           As the ECF user whose user ID and password are utilized in the filing of this document, I
3    attest under penalty of perjury that concurrence in the filing of the document has been obtained
4    from each of the other signatories.
5
6 Dated: October 6, 2023                                             /s/ Annette L. Hurst
                                                                       Annette L. Hurst
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                                                    -5-                         STIP. AND [PROPOSED] ORDER RE:
                                                                             PRESERVATION OF TELEMETRY DATA
                                                                                            NO. 4:22-cv-6823-JST
